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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

  JENNIFER IRBY,

         Plaintiff,

  v.                                                      CASE NO.:

  THE SCHOOL BOARD OF MIAMI-DADE
  COUNTY, FLORIDA,

        Defendant.
  _______________________________________/

                        COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, JENNIFER IRBY (“Ms. Irby” or “Plaintiff”) files this Complaint against

  Defendant, THE SCHOOL BOARD OF MIAMI-DADE COUNTY, FLORIDA (“Defendant”),

  and states as follows:

                                          INTRODUCTION

         1.    Plaintiff brings this action pursuant to the Family and Medical Leave Act, as

  amended, 29 U.S.C. § 2601, et seq. (“the FMLA”).

         2.    Plaintiff is seeking damages including back pay, front pay, compensatory damages,

  liquidated damages, declaratory relief, and her attorneys’ fees and costs.

                       JURISDICTION, VENUE AND FMLA COVERAGE

         3.    The Court has jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §1337 and

  the FMLA and the authority to grant declaratory relief under the FMLA, and pursuant to 28 U.S.C.

  § 2201 et seq.

         4.    At all times relevant hereto, Plaintiff was an employee of Defendant and worked for

  Defendant in Miami-Dade County, Florida.
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             5.    At all times relevant, Defendant was an employer covered by the FMLA, because it

  was engaged in commerce, or in an industry affecting commerce, who employed fifty (50) or more

  employees within seventy-five (75) miles of where Plaintiff worked, for each working day during

  each of twenty (20) or more calendar workweeks during the relevant period of time.

             6.    At all times relevant hereto, Plaintiff was an employee entitled to leave under the

  FMLA, based on the fact that she: (a) necessitated FMLA leave for her own serious health

  condition; and (b) she was employed by Defendant for at least 12 months and worked at least 1,250

  hours during the relevant 12-month period prior to her seeking to exercise her rights to FMLA

  leave. 1

                                        FACTUAL ALLEGATIONS

             7.    Plaintiff worked as a Full Time Teacher for Defendant from January 2016, through

  her constructive discharge in April 2018.

             8.    In approximately January 2018, Plaintiff submitted FMLA certification paperwork to

  Defendant for her own serious health condition.

             9.    Pursuant to the FMLA, Defendant was required to timely notify Plaintiff, in writing,

  as to whether her FMLA request was approved or denied in writing and with particular detail. See

  29 § 825.300 (b).

             10.   Defendant failed to do so entirely, and instead, two (2) months later in March 2018,

  Defendant’s Principal verbally declined Plaintiff’s FMLA leave without valid reason, cause, or

  explanation.




  1
   Pursuant to the Department of Labor, because Plaintiff was a Teacher, she is entitled to a presumption that she
  worked the 1,250 hours during the twelve (12) months preceding her request for FMLA. See Department of Labor
  Wage and Hour Division (“WHD”) Opinion Letter FMLA-78, dated February 14, 1996.
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          11.   Based on this denial of her FMLA rights, and the ongoing serious health condition

  from which Plaintiff was suffering, Plaintiff had no choice but to resign her employment in April

  2018, to attend to her self care.

          12.   Had Plaintiff been afforded FMLA leave as the law permits, Plaintiff would not have

  had to resign her employment, could have taken FMLA protected leave to heal, and return to work

  as the FMLA envisions.

          13.   But for Defendant’s denial of her FMLA leave, Plaintiff would not have resigned her

  employment with Defendant.

          14.   A reasonable person in Plaintiff’s position would likewise have felt compelled to

  resign under the circumstances.

          15.   Plaintiff’s requested absence stemming from her serious health condition should have

  been protected under the FMLA.

          16.   As a result of the foregoing, Defendant interfered with Plaintiff’s FMLA rights.

          17.   Moreover, because Defendant acted with intent to interfere with, and otherwise

  retaliate against Plaintiff for her use of what should have been protected FMLA leave, Defendant’s

  actions likewise constitute FMLA retaliation.

          18.   Defendant purposefully and intentionally interfered with, and retaliated against

  Plaintiff, for her attempted use of FMLA protected leave.

          19.   As a result of this illegal conduct, Plaintiff has suffered damages, including loss of

  employment, wages, benefits, and other remuneration to which she is entitled.

          20.   Defendant did not have a subjective or objective good faith basis for its actions, and

  Plaintiff is therefore entitled to liquidated damages.
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               COUNT I- UNLAWFUL INTERFERENCE UNDER THE FMLA

         21.   Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1-

  20 above.

         22.    At all times relevant hereto, Plaintiff was protected by the FMLA.

         23.   At all times relevant hereto, Plaintiff was protected from interference under the

  FMLA.

         24.   At all times relevant hereto, Defendant interfered with Plaintiff by refusing to allow

  Plaintiff to exercise her FMLA rights.

         25.   As a result of Defendant’s willful and unlawful acts by interfering with Plaintiff for

  exercising her rights pursuant to the FMLA, Plaintiff has suffered damages and incurred

  reasonable attorneys’ fees and costs.

         26.    As a result of Defendant’s willful violation of the FMLA, Plaintiff is entitled to

  liquidated damages.

         WHEREFORE, Plaintiff demands judgment against Defendant for back pay, an equal

  amount as liquidated damages, other monetary damages, equitable relief, declaratory relief,

  reasonable attorneys’ fees and costs, and any and all further relief that this Court determines to be

  just and appropriate.

                            COUNT II- RETALIATION UNDER THE FMLA

         27.    Plaintiff reincorporates and readopts all allegations contained within Paragraphs 1-

  20, above.

         28.   At all times relevant hereto, Plaintiff was protected by the FMLA.

         29.   At all times relevant hereto, Plaintiff was protected from retaliation under the FMLA.
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         30.   At all times relevant hereto, Defendant retaliated against Plaintiff by constructively

  discharging her instead of allowing her use of what should have been FMLA protected leave.

         31.   Defendant acted with the intent to retaliate against Plaintiff, because Plaintiff

  exercised her right to take approved leave pursuant to the FMLA.

         32.   As a result of Defendant’s intentional, willful and unlawful acts by retaliating against

  Plaintiff for exercising her rights pursuant to the FMLA, Plaintiff has suffered damages and

  incurred reasonable attorneys’ fees and costs.

         33.    As a result of Defendant’s willful violation of the FMLA, Plaintiff is entitled to

  liquidated damages.

         WHEREFORE, Plaintiff demands judgment against Defendant for back pay, an equal

  amount as liquidated damages, other monetary damages, equitable relief, declaratory relief,

  reasonable attorneys’ fees and costs, and any and all further relief that this Court determines to be

  just and appropriate.

                                       DEMAND FOR JURY TRIAL

         Plaintiff demands trial by jury on all issues so triable.

         DATED this 22nd day of November 2019.

                                                Respectfully Submitted,

                                                By:/s Noah E. Storch
                                                Noah E. Storch, Esq.
                                                Florida Bar No. 0085476
                                                Richard Celler Legal, P.A.
                                                10368 West State Road 84, Suite 103
                                                Davie, Florida 33324
                                                Telephone: (866) 344-9243
                                                Facsimile: (954) 337-2771
                                                E-mail: noah@floridaovertimelawyer.com
                                                Attorneys for Plaintiff
